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        EXHIBIT 1
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 DISTRICT COURT, CITY AND COUNTY OF
 LARIMER, STATE OF COLORADO

 Court Address: Larimer County Disti-ict Court
                201 La Porte Avenue
                Fort Collins, CO 80521

 Plaintiff: JAMES HARMON

                                                                   ~ Court Use Only'
 V.


 Defendant: MONSANTO CO. and POUDRE
 VALLEY CO-OPERATIVE ASSOCIATION,
 INC.                                                      Case Nurnber:
 Attorney for Plaintiff
 Terry Rogers, Atty. Reg. No. 18636
 4450 Arapahoe Ave., Suite 100                             Division:
 Boulder, Colorado 80303
 Email: tr@rogerslaw.com
 Telephone: (303)444-5300
 Facsimile: (303)444-5311


                        CIVIL COMPLAINT AND JURY DEMAND



        Come Now Plaintiff, JAMES HARMON (hereinafter "Plaintiff') through his counsel of
record, Terry Rogers, and for their Civil Complaint and Jury Demand against Defendants
MONSANTO COMPANY and POUDRE VALLEY CO-OPERATIVE ASSOIATION INC.,
alleges and avers as follows:

                       I. PARTIES, JURISDICTION, AND VENUE

              Plaintiff is a natural person of the age of majority and a citizen of Colorado, with a

mailing address of 14759 East Navarro Place, Aurora, Coloi-ado 80014. Mr. Harmon purchased

and used Roundup for at least 40 years through approxirnately 2017, and was diagnosed with a

form of Non-Hodgkin's lymphoma in 2015

       2.     Co-Defendant Monsanto Company ("Monsanto") is a Delaware corporation with
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its headquarters and principal place of business in St. Louis, Missouri.

         3.    At all tinies relevant to this petition, Co-Defendant Monsanto Company was

authorized and conducting business within the State of Colorado, moi-e specifically, Monsanto

distributed RoundupO to Poudre Valle Co-Operation Association, Inc. in Larimer County,

Colorado.

         4.    Co-Defendant Poudre Valley Co-Operative Association, Inc. is a Colorado

Corporation with its principal place of business in Fort Collins, Colorado.

         5.    At all times relevant to this petition, Co-Defendant Poudre Valley Co-Operative

Association, Inc., was authorized and conducting business within the State of Colorado, more

specifically, Lai-imer Cotnity, Colorado and/or distributed Monsanto products including

Roundup 1z within the state of Colorado.

         6.    At all times relevant to this petition, Monsanto was the entity that discovered the

herbicidal properties of glyphosate and the inanufacturer of Roundup®.

         7.    At all tiines relevant hereto, Monsanto was in the business of researching,

designing, formulating, compounding, testing, manufacturing, producing, processing, assembling,

inspecting, distributing, labeling, and packaging and Monsanto was in the business of marketing,

promoting, and/or advei-tising Roundupg products in the State of Missouri and the County of St.

Louis.

         8.    At all times relevant hereto, Monsanto was a Delaware corporation with its

headduai-ters and principal place of business in St. Louis, Missouri.

         9.    Plaintiff has timely filed this lawsuit fi-om the time the Plaintiff knew or reasonably

knew of the injury and that it may have been wrongfully caused.



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        10.    Jurisdiction is proper in this action pursuant to C.R.S. § 13-1-124 because the

incident underlying this cause of action occurred within the County of Lai-imei-, State of Colorado.

        11.    Venue is proper in Larimer County pursuant to C.R.C.P. 98(c)(5), because tlie tort

that triggered the claims hei-ein occurred within the County of Larimer, State of Colorado.

                                      II. INTRODUCTION

       12.     In 1970, Defendant Monsanto Company discovered the herbicidal properties of

g1yp11osate and began marketing it in products in 1974 under the brand name Roundup Iz .

Roundup iz is a non-selective herbicide used to kill weeds that connnonly compete with the

growing of crops. By 2001, glyphosate had become the most-used active ingredient in American

agi-iculture with 85-90 millions ofpounds used annually. That nuwnber grew to 185 million pounds

by 2007. As of 2013, glypliosate was the world's most widely used herbicide.

       13.     Monsanto is a inultinational agricultural biotechnology corporation based in St.

Louis, Missouri. It is the world's leading producer of glyphosate. As of 2009, Monsanto was the

world's leading producer of seeds, accounting for 27% of the world seed market. The majority of

these seeds are of the Roundup ReadyO brand. The stated advantage of Roundup Ready® crops is

that they substantially improve a fai-rner's ability to control weeds, since glyphosate can be sprayed

in the fields during the growing season witliout harming their crops. In 2010, an estimated 70% of

corn and cotton, and 90% of soybean fields in the United States were Roundup ReadyO.

       14.     Monsanto's glyphosate products are registered in 130 countries and appi-oved for

use on ovei- 100 different crops. They are ubiduitous in the environment. Numei-ous studies confirm

that glyphosate is found in rivers, streams, and groundwater in agricultural ai-eas where Roundup ~D

is used. It has been found in food, in the urine of agricultural workers, and even in the urine of

urban dwellers who are not in direct contact with glyphosate.

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       15.     On March 20, 2015, the International Agency for Research on Cancei- ("IARC"),

an agency of the World Health Organization ("WHO"), issued an evaluation of several herbicides,

including glyphosate. That evaluation was based, in part, on studies of exposures to glyphosate in

several countries around the woi-]d, and it traces the health implications fi-om exposure to

glyphosate since 2001.

       16.     On July 29, 2015, IARC issued the foi-mal monograph relating to glyphosate. In

that monograph, the IARC Working Group provides a thorough review of the numerous studies

and data relating to glyphosate exposure in humans.

       17.     The IARC Working Group classified glyphosate as a Group 2A herbicide, which

means that it is probably carcinogenic to humans. The IARC Working Group concluded that the

cancers most associated with glyphosate exposui-e are non-Hodgkin lymphoma and other

hematopoietic cancers, including lymphocytic lyniplioma/chronic lymphocytic leukemia, B-cell

lymphoma, and multiple myeloma.

       18.     The IARC evaluation is significant. It confirms what has been believed for years:

that glyphosate is toxic to humans.

       19.     Nevertheless, Monsanto, since it began selling Roundup®, has represented it as

safe to humans and the envirom-nent. Indeed, Monsanto has repeatedly proclaimed and continues

to proclaim to the world, and particularly to United States consuiners, that glyphosate-based

herbicides, including Roundup 1z , create no unreasonable i-isks to human health or to the

environment.

                                          11I. FACTS

       20.     Glyphosate is a broad-spectrum, non-selective herbicide used in a wide variety of

hei-bicidal products around the world.

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       21.      Plants treated with glyphosate translocate the systemic lierbicide to their roots,

shoot regions and fruit, where it interferes with the plant's ability to foi-m aromatic aniino acids

necessary for protein synthesis. Treated plants generally die within two to tliree days. Because

plants absorb glyphosate, it cannot be completely removed by washing or peeling produce oi- by

milling, baking, oi- bi-ewing grains.

       22.     For neai-ly 40 years, farms across the world have used Roundup0 without knowing

of the dangei-s its use poses. That is because when Monsanto first introduced Roundup0, it touted

glyphosate as a technological breakthrough: it could kill almost every weed without causing lharm

either to people oi- to the environment. Of course, history has shown that not to be true. According

to the WHO, the main chemical ingredient of Roundup0—glyphosate—is a probable cause of

cancer. Those most at risk are farm worlcers and other individuals with workplace exposure to

Roundup ►z , such as workers in garden centers, nurseries, and landscapers. Agricultural workers

are, once again, victims of corporate greed. Monsanto assured the public that Roundup R was

harmless. In ordei- to prove this, Monsanto championed falsified data and attacked legitimate

studies that revealed its dangers. Monsanto led a prolonged campaign of misinformation to

convince govei-nment agencies, farm ers, and the general population that Roundup
                                                                               I~ was safe.

                      The Discovery of Glyplzosate and Development of Roarndup@

       23. The lierbicidal propei-ties of glyphosate were discovered in 1970 by Monsanto chemist

John Franz. The first glyphosate-based herbicide was introduced to the market in the mid1970s

undei- the brand name Roundupg. Fi-om the outset, Monsanto marketed RoundupOO as a"safe"

general-purpose hei- bicide for widespread commercial and consumer use; Monsanto still niarkets

Roundup M as safe today.




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                              Registration of Herbicides crntlei- Federnl Lary

       24.     The manufacture, formulation and distribution of herbicides, such as Roundup@,

are regulated under tlie Federal Insecticide, Fungicide, and Rodenticide Act ("FIFRA" or "Act"),

7 U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered with the Environmental

Protection Agency ("EPA" or "Agency") prior to their distribution, sale, or use, except as

described by the Act. 7 U.S.C. § 136a(a).

       25.     Because pesticides are toxic to plants, animals, and humans, at least to some degree,

the EPA requires as part of the registration process, among other things, a variety of tests to

evaluate the potential for exposure to pesticides, toxicity to people and othei- potential non-target

organisms, and other adverse effects on the environment. Registration by the EPA, however, is not

an assurance or finding of safety. The detennination the Agency must make in registering or

reregistering a product is not that the product is "safe," but rather that use of the product in

accordance with its label directions "will not generally cause unreasonable adverse effects on the

environinent." 7 U.S.C. § 136a(c)(5)(D).

       26.     FIFRA defines "unreasonable adverse effects on the environment" to mean "any

unreasonable risk to man or the environment, taking into account the econoniic, social, and

environmental costs and benefits of the use of any pesticide." 7 U.S.C. § 136(bb). FIFRA thus

requii-es EPA to make a risk/benefit analysis in determining whether a registration should be

granted or allowed to continue to be sold in commerce.

       27.     The EPA registered Roundup® for distribution, sale, and manufacture in the United

States and the States of Missouri.




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       28.      FIFRA generally requires that the registrant, Monsanto in the case of Roundup@,

conducts the health and safety testing of pesticide products. The EPA has pi•otocols governing the

conduct of tests required for registi-ation and the laboratory practices that must be followed in

conducting these tests. The data produced by the registrant must be submitted to the EPA for

review and evaluation. The government is not required, noi- is it able, however, to perform the

product tests that are required of the manufacturer.

       29.     The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

products through a Congressionally-mandated process called "re-registration." 7 U.S.C. § 136a-1.

In order to reevaluate these pesticides, the EPA is demanding the completion of additional tests

and the submission of data for the EPA's review and evaluation.

       30.     In the case of glyphosate, and therefore RoundupO, the EPA had planned on

releasing its preliminary risk assessmeiit —in relation to the i-e-registration process—no later than

July 2015. The EPA completed its review of glyphosate in early 2015, but it delayed releasing the

risk assessment pending further review in light of the WHO's health-related findings.

         Scientific Fratrd Underlying tlze Mcrketing and Sale of Glyphosate/Rotrndiip

       31.     Based on early studies that glyphosate could cause cancer in laboratory animals,

the EPA originally classified glyphosate as possibly cai-cinogenic to liumans (Gi-oup C) in 1985.

After pressure from Monsanto, including contrary studies it provided to the EPA, the EPA changed

its classification to evidence of non-cai-cinogenicity in humans (Gi-oup E) in 1991. In so classifying

glyphosate, however, the EPA made cleai- that the designation did not mean the chemical does not

cause cancer: "It should be emphasized, however, that designation of an agent in Group E is based

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on the available evidence at the time of evaluation and should not be interpreted as a detinitive

conclusion that the agent will not be a carcinogen under any circumstances."

       32.     On two occasions, the EPA found that the laboratories hired by Monsanto to test

the toxicity of its Roundup M products for registration pui-poses comniitted fraud.

       33.     In the first instance, Monsanto, in seeking initial registration of Roundup 1z by EPA,

hired Industrial Bio-Test Laboratories ("IBT") to perform and evaluate pesticide toxicology

studies relating to Roundup 1z . IBT performed about 30 tests on glyphosate and

glyphosatecontaining products, including nine of the 15 residue studies needed to register

Roundup 12 .

       34.     In 1976, the United States Food and Drug Administration ("FDA") perfoi-med an

inspection of Industrial Bio-Test Industries ("IBT") that revealed discrepancies between the raw

data and the final report relating to the toxicological impacts of glyphosate. The EPA subsecluently

audited IBT; it too found the toxicology studies conducted for the Roundup® herbicide to be

invalid. An EPA reviewer stated, after finding "routine falsification of data" at IBT, tliat it was

"hard to believe the scientific integrity of the studies when they said they took specimens of the

uterus fi-om male rabbits."

       35.     Tlhi•ee top executives of IBT were convicted of fraud in 1983.

       36.     In the second incident of data falsification, Monsanto hired Craven Laboratories in

1991 to perform pesticide and herbicide studies, including for Roundup 1z . In that same year, the

owner of Craven Laboratories and three of its employees were indicted, and later convicted, of

fraudulent laboratory practices in the testing of pesticides and herbicides.

       37.     Despite the falsity of the tests that underlie its registration, within a few yeai-s of its

launch, Monsanto was marketing Roundup ID in 115 countries.

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               Tlze Importance of Roundup 9 to Monsanto's Market Domirrance Profits

       38.     The success of Roundupat was key to Monsanto's continued reputation and

dominance in the marketplace. Largely due to the success of RoundupO sales, Monsanto's

agi- iculture division was out-performing its chemicals division's operating income, and that gap

increased yeai- ly. But with its patent for glypliosate expiring in the United States in the year 2000,

Monsanto needed a strategy to maintain its Roundup® market dominance and to ward off

impending competition.

       39.     In response, Monsanto began the development and sale of genetically engineered

Roundup Ready® seeds in 1996. Since Roundup Ready aD crops ai-e resistant to glyphosate; farmers

can spray Roundup® onto their fields during the growing season without liarming tlie crop. This

allowed Monsanto to expand its market for Roundup® even further; by 2000, Monsanto's

biotechnology seeds were planted on more than 80 million acres worldwide and nearly 70% of

American soybeans were planted from Roundup ReadyOO seeds. It also secured Monsanto's

dominant share of the glyphosate/Roundupg market through a marketing strategy that coupled

proprietary Roundup Ready 1z seeds with continued sales of its Roundup 1z herbicide.

       40.     Through a three-pronged strategy of increased production, decreased prices, and by

coupling with Roundup Ready® seeds, RoundupO became Monsanto's most profitable product.

In 2000, Roundup 1z accounted for almost $2.8 billion in sales, outselling other herbicides by a

margin of five to one, and accounting for close to lialf of Monsanto's revenue. Today, glyphosate

remains one of the world's largest herbicides by sales volume.

         Monsanto has kno►vn for tlecades that it falsely advertises the sufety of Roundup R.

       41.     In 1996, the New York Attorney General ("NYAG") filed a lawsuit against

Monsanto based on its false and misleading advertising of Roundup D products. Specifically, the

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lawsuit challenged Monsanto's general representations that its spray-on glyphosate-based

herbicides, including RoundupO, were "safer than table salt" and "practically non-toxic" to

manimals, birds, and fisli. Among the representations the NYAG found deceptive and misleading

about the human and environmental safety of RoundupO are the following:

       a)       Remembei- that environmentally fi-iendly Roundup lierbicide is biodegradable. It

       won't build up in the soil so you can use Roundup witli confidence along customers'

       driveways, sidewalks and fences

       b)       And remember that Roundup is biodegradable and won't build up in the soil. That

       will give you the environmental confidence you need to use Roundup everywhere you've

       got a weed, brush, edging or triniming problern.

       c)       Roundup biodegrades into natui-ally occui7•ing elenients.

       d)       Remember that versatile Roundup herbicide stays where you put it. That means

      there's no washing or leaching to harm customers' shrubs or other desirable vegetation.

       e)       This non-residual herbicide will not wash or leach in the soil. It ... stays where you

      apply it.

       f)       You can apply Accord with "confidence because it will stay where you put

       it" it bonds tightly to soil particles, pi-eventing leaching. Then, soon after application, soil

      microorganisms biodegrade Accord into natural products.

      g)        Glyphosate is less toxic to i-ats than table salt following acute oral ingestion.

       h)       Glyphosate's safety mai-gin is much greater than required. It has over a 1,000-fold

      safety margin in food and over a 700-fold safety margin for workers who manufacture it or

      use it.

       i)       You can feel good about tising lierbicides by Monsanto. They carry a

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       toxicity category rating of'pi-actically non-toxic' as it pertains to mammals, birds and fish.

       j)      "Roundup can be used whei-e kids and pets will play and breaks down into natural

       material." This ad depicts a person with his head in the ground and a pet dog standing in

       an area wllich has been treated with Roundup.

       42.     On November 19, 1996, Monsanto entered into an Assurance of Discontinuance

with NYAG, in which Monsanto agreed, among other tliings, "to cease and desist fi•om publishing

or broadcasting any advertisements [in New York] that represent, directly or by implication" that:

       a)      its glyphosate-containing pesticide products or any component thereof are safe,

       non-toxic, harmless or free from risk. ~**

       b)      its glyphosate-contaiiiing pesticide products or any component thereof

       manufactured, formulated, distributed or sold by Monsanto are biodegradable "-**

       c)      its glyphosate-containing pesticide products or any component thereof stay where

       they are applied under all circumstances and will not move through the environment by

       any means. ***

       d)      its glyphosate-containing pesticide products or any component thereof are "good"

       for the environment or are "known for their environmental characteristics." "` **

       e)      glyphosate-containing pesticide products or any component thereof are safer or less

       toxic than common consumer products other than herbicides;

       f)      its ~lyphosate-containing products or any component thereof niight be classified as

       "practically non-toxic."

       43.     Monsanto did not alter its advertising in the same manner in any state other than

New York, and on infoi-mation and belief still has not done so today.
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        44.     In 2009, France's highest coui-t ruled that Monsanto had not told the truth about the

safety of Roundup& The French court affirmed an earliei- judgement that Monsanto had falsely

advertised its herbicide Roundup ►z as "biodegradable" and that it "left the soil clean."

                              Classifications and Assessiizents of Clyphosate

        45.     The IARC process for the classification of glyphosate followed the stringent

procedures for the evaluation of a chemical agent. Over time, the lARC Monograph program has

reviewed 980 agents. Of those reviewed, it has determined 1 l6 agents to be Group 1(Known

Human Carcinogens); 73 agents to be Group 2A (Probable Huwnan Carcinogens); 287 agents to be

Group 2B (Possible Human Carcinogens); 503 agents to be Group 3(Not Classified); and one

agent to be Probably Not Carcinogenic.

        46.     The established procedure for IARC Monogi-aplh evaluations is described in the

IARC Programme's Preamble. Evaluations are perfonned by panels of intei-national experts,

selected on the basis of their expertise and the absence of actual or apparent conflicts of interest.

        47.     One year before the Monograph meeting, the meeting is announced and there is a

call both for data and for experts. Eight months befor-e the Monograpli meeting, the Working Group

membership is selected and the sections of the Monograph are developed by the Working Group

members. One month prior to the Monograph meeting, the call for data is closed and the various

draft sections are distributed among Working Group members for review and comment. Finally,

at the Monograph meeting, the Working Gi-oup finalizes review of al] literature, evaluates the

evidence in each category, and completes the overall evaluation. Within two weeks after the

Monograph meeting, the summary of the Working Group findings is published in Lancet

Oncology, and within a year aftei- the meeting, the final Monograph is finalized and published.

       48.     In assessing an agent, the IARC Working Group reviews the following information:

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        a)       huinan, expei-imental, and mechanistic data;

        b)       all pertinent epidemiological studies and cancer bioassays; and

        c)       representative mechanistic data. The studies must be publicly available and have

        sufficient detail for meaningful review, and reviewers cannot be associated with the

        underlying study.

        49.      In March 2015, IARC reassessed glyphosate. The summary published in The

Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in

humans.

        50.      On July 29, 2015, IARC issued its Monograph for glyphosate, Monograph 112. For

Volume 112, the volume that assessed glypliosate, a Working Group of 17 experts fi•om 11

countries met at IARC from March 3-10, 2015, to assess the carcinogenicity of certain herbicides,

including glyphosate. The March rneeting culminated nearly a one-year review and preparation by

the IARC Secretariat and the Worlcing Group, including a comprehensive review of the latest

available scientific evidence. According to publislied procedures, the Working Group considered

"reports that have been published or accepted for publication in the openly available scientific

literature" as well as "data fi-oni governmental reports that are publicly available."

        51.      The studies considered the following exposure groups: occupational exposure of

farmers and tree nursery workers in the United States, forestry workers in Canada and Finland,

and municipal weed-control workers in the United Kingdom; and para-occupational exposure in

farrning fainilies.

        52.      Glyphosate was identified as the second-most used household herbicide in the

United States for weed control between 2001 and 2007 and the most heavily used herbicide in the

world in 2012.

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        53.     Exposui-e pathways are identified as aii- (especially during spraying), watei-, and

food. Community exposure to glyphosate is widespread and found in soil, air, sui-face water, and

groundwater, as well as in food.

       54.     The assessment of the IARC Working Group identified several case control studies

of occupational exposui-e in the United States, Canada, and Sweden. These studies show a hwnan

health concei-n fi-om agricultural and other work-related exposure to glyphosate.

       55.     The IARC Working Group found an increased risk between exposui-e to g1yp11osate

and non-Hodgkin lymplioma ("NHL") and several subtypes of NHL, and the increased risk

persisted after adjustment for other pesticides.

       56.     The IARC Working Group also found that glyphosate caused DNA and

chromosomal damage in hunian cells. One study in community residents reported increases in

blood markers of chromosomal damage (micronuclei) after glyphosate formulations were sprayed.

       57.     In male CD-1 mice, glyphosate induced a positive trend in the incidence of a rare

tuinor, renal tubule carcinoma. A second study reported a positive trend for haemangiosarcoma in

male mice. Glyphosate increased pancreatic islet-cell adenoma in male rats in two studies. A

glyphosate formulation promoted skin tumors in an initiation-proniotion study in mice.

       58.     The IARC Working Group also noted that glyphosate has been detected in the urine

of agricultural workers, indicating absorption. Soil microbes degrade glyphosate to

aminomethylpliosphoric acid (AMPA). Blood AMPA detection after exposure suggests intestinal

mici-obial metabolism in humans.

       59.     The IARC Working Group further found that glyphosate and glyphosate

formulations induced DNA and chromosomal damage in mammals, and in human and animal cells

m utero.

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       60.     The IARC Working Group also noted genotoxic, hormonal, and enzymatic effects

in mammals exposed to glyphosate. Essentially, glyphosate inhibits the biosynthesis of aromatic

amino acids, which leads to several metabolic disturbances, including the inliibition of protein and

secondary product biosynthesis and general metabolic disruption.

       61.     The IARC Working Group also reviewed an Agricultw-al
                                                        ID          Health Study, consisting

of a prospective coliort of 57,31 1 licensed pesticide applicators in Iowa and North Carolina. While

this study differed froni others in that it was based on a self-administered questionnaire, the results

suppoi-t an association between glyphosate exposure and Multiple Myeloma, Hairy Cell Leulcemia

(HCL), and Chronic Lymphocytic Leukemia (CLL), in addition to several other cancers.

                Otlzer Earlier Findings Abotrt Glyplzosate's Dangers to Harman HealtlZ

       62.     The EPA has a technical fact sheet, as part of its Drinking Water and Health,

National Primary Drinking Water Regulations publication, relating to glyphosate. This technical

fact sheet predates the IARC March 20, 2015, evaluation. The fact sheet describes the release

patterns for glyphosate as follows:

                                              Release Pcrtterns

       63.     Glyphosate is released to the environment in its use as a herbicide for controlling

woody and herbaceous weeds on forestry, right-of-way, cropped and non-cropped sites. These sites

may be around water and in wetlands. It may also be released to the environment during its

manufacture, foi-mulation, transport, storage, disposal, and cleanup, and fi-om spills. Since

glyphosate is not a listed chemical in the Toxics Release Inventory, data on releases during its

manufacture and handling are not available. Occupational workei-s and home gardeners may be

exposed to glyphosate by inhalation and dennal contact dui-ing spraying, mixing, and cleanup.

They may also be exposed by touching soil and plants to which glyphosate was applied.

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Occupational exposure may also occui- during glyphosate's nianufacture, transport storage, and

disposal.

        64.     In 1995, the Northwest Coalition for Alternatives to Pesticides reported that in

California, the state with the most comprehensive program for reporting of pesticide-caused

illness, glyphosate was the third most commonly-reported cause of pesticide illness among

agricultural workers.

                            Recent Worlchvide Btuis oiz Roundup@/Glyplzosate

       65.      Several countries around the world have instituted bans on the sale of RoundupO

and other glyphosate-containing herbicides, both before and since IARC first announced its

assessment for glyphosate in March 2015, and moi-e countries undoubtedly will follow suit as the

dangers of the use of Roundupg are more widely known. The Netherlands issued a ban on all

glyphosate-based herbicides in April 2014, including RoundupO, which took effect by the end of

2015. In issuing the ban, the Dutch Parliament member who introduced the successful legislation

stated: "Agricultural pesticides in user-fi-iendly packaging are sold in abundance to private persons.

In garden centers, Roundup® is promoted as lhai-mless, but unsuspecting customers have no idea

what the risks of this product are. Especially children are sensitive to toxic substances and should

tlierefore not be exposed to it."

       66.     The Brazilian Public Prosecutor in the Federal District requested that the Brazilian

Justice Depai-tment suspend the use of alyplhosate.

       67.     France banned the private sale of Roundup 1z and glyphosate following the IARC

assessment for Glyphosate.

       68.     Bermuda banned both the private and commercial sale of glyphosates, including




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RoundupO. The Bei-muda govei-nment explained its ban as follows: "Following a recent scientific

study can- ied out by a leading cancer agency, the importation of weed spray `Roundup' lias been

suspended."

        69.     The Sri Lankan govei-nment banned the private and commei-cial use of glyphosates,

pat-ticulai- ly out of concern that glyphosate has been linked to fatal kidney disease in agricultural

workers.

        70.     The government of Columbia announced its ban on using Roundup Iz and

glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine, because of the

WHO's finding that glyphosate is probably carcinogenic.

     IV. EQUITABLE TOLLING OF APPLICABLE STATUTE OF LIMITATIONS

       71.      Plaintiff incorporates by reference all prior paragraphs of this Petition as if fiilly set

forth herein.

       72.      The running of any statute of limitations has been tolled by r-eason of Defendants'

fraudulent concealment. Defendants, through its affirmative misrepresentations and omissions,

actively concealed fi-om Plaintiff the true risks associated with Roundup and glyphosate.

       73.      At all relevant times, Defendants have maintained that Roundup is safe, non-toxic,

and non-carcinogenic.

       74.      Indeed, even as of July 2016, Defendants continues to represent to the public that

"Regulatory authorities and independent experts around the woi-ld have reviewed numerous

longterm/carcinogenicity and genotoxicity studies and agree that there is iio evide»ce that




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glyphosate, the active ingredient in Roundup 1z brand herbicides and other glyphosate-based

herbicides, causes cancer, even at veiy high doses, and that it is not genotoxic" (emphasis added). '

        75.       As a result of Defendants' actions, Plaintiff was unaware, and could not reasonably

know or have learned tlirough reasonable diligence that Roundup and/or glyphosate contact,

exposed Plaintiff to the risks alleged herein and that those risks were the dii-ect and proximate

result of Defendants' acts and omissions.

        76.       Furthermore, Defendants are estopped fi-om relying on any statute of limitations

because of its fraudulent concealment of the true character, qtiality and nature of Roundup.

Defendants were under a duty to disclose the true character, cluality, and nature of Roundup

because this was non-public information over which Defendants had and continues to have

exclusive control, and because Defendants laiew that this information was not available to Plaintiff

or to distributors of Roundup. In addition, Defendants are estopped from relying on any statute of

limitations because of its intentional concealment of these facts.

        77.       Plaintiff had no knowledge tliat Defendants were engaged in the wrongdoing

alleged lierein. Because of the fi-audulent acts of concealment of wrongdoing by Defendants,

Plaintiff could not have reasonably discovered the wrongdoing at any time prior. Also, the

economics of tliis fraud should be considered. Defendants had the ability to and did spend

enorinous amounts of money in furtherance of its purpose of marketing, promoting and/or

distributing a profitable herbicide, notwithstanding the known or reasonably known risks. Plaintiff

and medical professionals could not have affoi-ded and could not lhave possibly conducted studies

to determine the nature, extent, and identity of related health risks, and wei-e forced to rely on only



' Backgrounder - Glyphosate: No Evidence of Carcino enicity. Updated November 2014. (downloaded
October 9 2015)
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the Defendant's representations. Accordingly, Defendants are precluded by the discovery rule

and/or the doctrine of fi-audulent concealment from i-elying upon any statute of limitations.

                                             v ('1 eiMC

       COUNT I: STRICT LIABILITY (DESIGN DEFECT) - AS TO DEFENDANT
                               MONSTANTO

        78.     Plaintiff incorporates by refei-ence each and every allegation set forth in the

preceding paragraphs as if fiilly stated herein.

        79.     Plaintiff brings this strict liability claim solely against Defendant Monsanto for

defective design.

        80.     At all times relevant to this litigation, Defendant Monsanto engaged in the business

of testing, developing, manufacturing, selling, distributing, and Defendant Monsanto engaged in

the marketing, packaging design, and proinotion of RoundupOO products, which are defective and

unreasonably dangerous to constimers, including Plaintiff, thereby placing Roundup® products

into the stream of commei- ce. These actions were under the ultimate control and supervision of

Monsanto. At all times relevant to this litigation, Defendant Monsanto designed, researched,

developed, manufacttn-ed, produced, tested, assembled, labeled, advertised, promoted, marketed,

sold, and distributed the Roundup ►z products used by the Plaintiff, as described above.

       81.      At all times relevant to this litigation, Roundup® products were manufactured,

designed, and labeled in an unsafe, defective, and inherently dangerous nianner that was dangerous

for use by or exposure to the public, and, in particular, the Plaintiff.

       82.      At all tiines relevant to this litigation, Roundup@ products reached the intended

consumers, handlers, and usei-s or other persons coming into contact with these products




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tliroughout the United States, including Plaintiff, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Monsanto.

         83.    Rowndup it    products, as researched, tested, developed, designed, licensed,

mantifactui- ed, packaged, labeled, distributed, sold, and marketed by Defendant Monsanto were

defective in design and formulation in that when they left the hands of the manufacturers and/or

suppliers, they were wn•easonably dangerous and dangerous to an extent beyond that whicll an

ordinary consumer would contemplate.

         84.    RoundupC products, as researched, tested, developed, designed, licensed,

manufactured, packaged, labeled, distributed, sold, and marketed by Defendant Monsanto were

defective in design and formulation in that when they left the hands of the manufacturers and/or

suppliers, the foreseeable risks exceeded the alleged benefits associated with theii- design and

formulation.

        85.     At all times relevant to tliis action, Monsanto knew or had reason to know that

RoundupO products wei-e defective and were inherently dangerous and unsafe when used in the

manner instructed and pi-ovided by Monsanto.

        86.     Therefore, at all tinies relevant to this litigation, Roundup(M products, as researched,

tested, developed, designed, licensed, manufactui-ed, packaged, labeled, distributed, sold, and

marketed by Monsanto were defective in design and fornnulation, in one or more of the following

ways:

    a) Wlhen placed in the stream of commerce, Roundup@ products were

        defective in design and foi-niulation, and, consequently, dangerous to an extent beyond that

        which an ordinai-y consumer would contemplate.

    b) When placed in the stream of commerce, Roundup 1z products were

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       unreasonably dangerous in that they were hazardous and posed a gi-ave risk of cancer and

       other serious illnesses when used in a reasonably anticipated manner.

    c) When placed in the stream of commerce, Roundup(1z products contained unreasonably

   dangerous design defects and were not reasonably safe wlien used in a reasonably anticipated

   or intended manner.

    d) Monsanto did not sufficiently test, investigate, or study Roundup@ products and,

   specifically, the active ingredient glyphosate.

    e) Exposure to Roundup® and glyphosate-containing products presents a risk of harmful side

   effects that outweigh any potential utility stemming from the use of the herbicide.

    f) At the time of inarketing its Roundup @ products, Roundup(@ was defective

       in that exposure to Roundup® and specifically, its active ingredient glyphosate, could result

       in cancer and other severe illnesses and injuries.

    g) Monsanto did not conduct adequate post-marketing survei llance of its Roundup(ID products.

    h) Monsanto could have employed safer alternative designs and formulations.

       87.      Plaintiff was exposed to Roundup0 products in the course of their work, as

described above, without knowledge of tlieir dangerous clharactei-istics.

       88.      At all times relevant to this litigation, Plaintiff used and/oi- were exposed to the use

of Roundup® products in an intended or reasonably foreseeable manner without knowledge of

their dangerous cliaracteristics.

       89.      Plaintiff could not have reasonably discovered the defects and risks associated with

Roundup® or glyphosate-containing products before or at the time of exposure.

       90.     The harm caused by Roundup li products fai- outweighed their benefit, i-endering

these products dangerous to an extent beyond that which an ordinary consumer would contemplate.

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Roundup 1z products were and at-e more dangerous than alternative products and Monsanto could

liave designed Roundup® products (including their packaging and sales aids) to make them less

dangerous. Indeed, at the time that Monsanto designed RoundupOO products, the state of the

industry's scientific knowledge was such that a less risky design or formulation was attainable.

        91.     At the time Roundup 1z pi-oducts left Monsanto's control, there was a practical,

teclinically feasible and safer alternative design that would have prevented the harm witliout

substantially impairing the reasonably anticipated or intended function of those herbicides.

        92.     Monsanto's defective design of RoundupO products was willful, wanton,

fraudulent, malicious, and conducted with reckless disregard for the health and safety of users of

the Roundup 1z products, including the Plaintiff herein.

        93.     Therefore, as a result of the unreasonably dangerous condition of its Roundup «

products, Monsanto is strictly liable to Plaintiff.

        94.     The defects in RoundupO products caused or contributed to cause Plaintiff's grave

injuries, and, but for Defendant Monsanto misconduct and omissions, Plaintiff would not have

sustained their injuries.

        95.     Defendant Monsanto's conduct, as described above, was reckless. Defendant

Monsanto risked the lives of consumei-s and users of its products, including Plaintiff, with

knowledge of the safety pt-oblems associated with Roundup 1z and glyphosate-containing products,

and suppressed this knowledge fi-om the general public. Defendant Monsanto made conscious

decisions not to redesign, wat-n, or infoi-m the unsuspecting public.

        96.     As a direct and proximate result of Defendant Monsanto placing defective

Roundup l products into the stream of commerce, Plaintiff has suffered and continues to suffer



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grave injuries, and has endured physical pain and discomfort, as well as economic hai-dsllip,

including considerable financial expenses for medical care and treatment.


    COUNT II: STRICT LIABILITY (FAILURE TO WARN) - AS TO DEFENDANT
                                           M(lN@ANT(1


       97.     Plaintiff incorporates by reference each and evei-y allegation set forth in the

preceding paragraphs as if fully stated herein.

       98.     Plaintiff brings this strict liability claim against Defendant Monsanto for their

failure to warn.

       99.     At all times relevant to this litigation, Defendant Monsanto engaged in the business

of testing, developing, designing, manufacturing, marketing, selling, distributing, and promoting

Roundup « products, which are defective and unreasonably dangerous to consumers, including

Plaintiff, because they do not contain adequate warnings or instructions concerning the dangerous

characteristics of RoundupOO and, specifically, the active ingredient glyphosate. These actions were

under the ultimate control and supervision of Defendant Monsanto.

       100.    Monsanto researched, developed, designed, tested, manufactured, inspected,

labeled, distributed, niarketed, promoted, sold, and otherwise released into the stream of commerce

Roundup 1z pi-oducts, and in the course of same, directly advertised or marketed the products to

consumers and end users, including the Plaintiff, and therefore had a duty to warn of the risks

associated xvith the use of RoundupO and glypliosate-containing products.

       101.    At al] times relevant to this litigation, Monsanto had a duty to properly test, develop,

design, nianufacture, inspect, package, label, market, promote, sell, distribute, maintain supply,

provide proper warnings, and take such steps as necessary to ensure that RoundupOO products did

not cause users and consumers to suffer from unreasonable and dangerous risks. Monsanto had a

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continuing duty to warn the Plaintiff of the dangers associated with Roundup 1z use and exposure.

Monsanto, as manufacturer, seller, promoter, marketer, or distributor of chemical iherbicides are

held to the knowledge of an expert in the field.

       102.    At the time of manufacture, Monsanto could have provided the warnings or

instructions regarding the full and complete risks of Roundup 1z and glyphosate-containing

products because it knew or should have known of the unreasonable i-isks of harm associated with

the use of and/or exposure to such products.

       103.    At all times relevant to this litigation, Monsanto failed to investigate, study, test, or

proinote the safety or to minimize the dangers to users and consumers of its product and to those

who would foreseeably use or be harmed by these herbicides, including Plaintiff.

       104.    Despite the fact that Monsanto knew or should have ]cnown that Roundup® posed

a grave risk of harm, it failed to exercise reasonable care to warn of the dangerous risks associated

with use and exposure. The dangerous propensities of these products and the carcinogenic

characteristics of glyphosate, as described above, were known to Monsanto, or scientifically

knowable to Monsanto through appropriate research and testing by known methods, at the time it

distributed, marketed, promoted, supplied, oi- sold the product, and not known to end users and

consuiners, such as Plaintiff.

       105.    These products created significant risks of serious bodily harm to consumers, as

alleged ]zerein, and Defendant Monsanto failed to adequately wani consumers and i-easonably

foreseeable users of the risks of exposui-e to its products. Monsanto has wrongfully concealed

information concerning the dangerous nature of Roundupe and its active ingredient glyphosate,

and further made false and/or misleading statements concei-ning the safety of Roundup l and

glyphosate.

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       106.    At all times relevant to this litigation, RotindupO products reached the intended

consuniers, handlers, and users or other pei-sons coming into contact with these products

throughout the United States, including Plaintiff, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, promoted, and niarketed by Monsanto.

       107.    Plaintiff was exposed to RoundupO products in the course of his employment

and/or pei-sonal use of Roundup, without knowledge of its dangerous characteristics.

       108.    At all tiines relevant to this litigation, Plaintiff used and/or was exposed to the use

of Roundup® products in their intended or reasonably foreseeable manner without knowledge of

their dangerous characteristics.

       109.    Plaintiff could not have reasonably discovered the defects and risks associated with

Roundup0 or glyphosate-containing products prior to or at the time of Plaintiff's exposure.

Plaintiff relied upon the skill, superior knowledge, and judgment of Defendant Monsanto.

       110.    These products were defective because the minimal warnings disseminated with

Roundup RO products were inadequate, and they failed to communicate adequate information on the

dangers and safe use/exposure and failed to communicate warnings and instructions that were

appropriate and adequate to i-ender the products safe for their ordinary, intended, and reasonably

foreseeable uses, including agricultural and landscaping applications.

       111.    The information that Defendant Monsanto did provide or communicate failed to

contain relevant warnings, liazai-ds, and precautions that would have enabled consumers such as

Plaintiff to utilize the products safely and with adequate protection. Instead, Defendant Monsanto

disseminated infoi-mation that was inaccurate, false, and misleading and which failed to

conimunicate accurately or adequately the comparative severity, dui-ation, and extent of the risk of

injuries with use of and/or exposure to RoundupOO and glyphosate; continued to aggressively

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promote the efficacy of its products, even after it knew or should have known of the unreasonable

risks fi-oni use or exposure; and concealed, downplayed, or otherwise suppressed, through

aggressive marketing and promotion, any information or research about the risks and dangers of

exposui-e to Roundup@ and glypliosate.

        112. To this day, Defendant Monsanto has failed to adequately and accui-ately warn of

the true risks of Plaintiff's injuries associated with the use of and exposure to RoundupO
                                                                                         O and its

active ingredient glyphosate, a probable cai-cinogen.

        1 13. As a result of tlieir inadequate warnings, RoundupO products wei-e defective and

unreasonably dangerous when they left the possession and/or control of Monsanto, were

distributed, mai-keted, and promoted by Monsanto, and used by Plaintif£

        114.   Defendant Monsanto is liable to Plaintiff for injuries caused by its negligent or

willful failure, as described above, to provide adequate warnings or other clinically relevant

inforination and data regarding the appropriate use of these products and the risks associated with

the use of or exposure to RoundupOO and glyphosate.

        115.   The defects in Roundup 12 products caused or contributed to cause Plaintiff's

injuries, and, but for this misconduct and omissions, Plaintiff would not have sustained their

injuries.

        116.   Had Defendant Monsanto provided adequate warnings and instt-uctions and

properly disclosed and disseminated the risks associated with Roundup g products, Plaintiff could

have avoided the risk of developing injuries as alleged herein.

        117.   As a direct and proximate result of Monsanto placing defective Roun dup~~ pi-oducts

into the stream of commerce, Plaintiff has suffered severe injuries and have endured physical pain



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and discomfort, as well as economic liai-dship, including considei-able financial expenses for

medical care and treatment.

                 COUNT III: NEGLIGENCE - AS TO ALL DEFENDANTS

       118.    Plaintiff incorporates by reference each and evei-y allegation set forth in the

preceding paragraplis as if fully stated herein.

       119.    Monsanto, directly or indirectly, caused Roiindup® products to be sold, distributed,

packaged, labeled, marketed, promoted, and/or used by Plaintiff.

       120.    At all times relevant to this litigation, Monsanto had a duty to exercise reasonable

care in the design, research, manufacture, marlceting, advertisement, supply, promotion,

packaging, sale, and distribution of Roundup® products, including the duty to take all reasonable

steps necessary to manufacture, promote, and/or sell a product that was not unreasonably

dangerous to consumers and users of the product.

       121.    At all times relevant to this litigation, Monsanto had a duty to exercise reasonable

care in the marketing, advertisement, and sale of the Roundup0 products. Monsanto's duty of care

owed to consumers and the general public included providing accurate, true, and correct

information concerning the risks of using Roundupg and appropriate, complete, and accurate

warnings concerning the potential adverse effects of exposure to Roundup @, and, in particular, its

active ingredient glyphosate.

       122.    At all times relevant to this litigation, Monsanto kiiew or, in the exercise of

reasonable care, shotild have known of the lhazards and dangers of Rotnidupg and specifically, the

carcinogenic properties of the cheniical glyphosate.

       123.    Accordingly, at all times relevant to tliis litigation, Monsanto knew or, in the

exercise of reasonable care, should have known that use of or exposure to its Roundup0 products

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could cause or be associated with Plaintiff's injuries and thus created a dangerous and unreasonable

i-isk of injury to tlle users of these products, including Plaintif£

        124.    Defendants also knew or, in the exercise of reasonable care, should have known

that users and conswners of Roundup Iz were unaware of the risks and the magnitude of the risks

associated with use of and/or exposure to Roundup It and glyphosate-containing products.

        125.    As such, Defendants breached the duty of reasonable care and failed to exercise

ordinary care in the design, research, development, manufacture, testing, marketing, supply,

promotion, advertisement, packaging, sale, and distribution of its Roundup(1z products, in that

Monsanto manufactured, marketed, promoted, and sold defective herbicides containing the

chemical glyphosate, knew or had reason to know of the defects inherent in these products, knew

or had reason to know that a user's or consumer's exposure to the products created a significant

risk of harm and unreasonably dangerous side effects, and failed to prevent or adequately warn of

these risks and injuries.

       126.. Despite an ability and means to investigate, study, and test these products and to

provide adeqtiate wai-nings, Monsanto has failed to do so. Indeed, Monsanto has wrongfully

concealed information and has fiu-ther made false and/or inisleading statements concerning the

safety and/or exposure to Roundup ►z and glyphosate.

       127.     Monsanto was negligent in the following respects:

        a)      Manufacturing, pi-oducing, promoting, formulating, creating, developing,

        designing, selling, and/or distributing its Roundup 1z products without thoi-ough and

       adequate pi-e- and post-market testing;

        b)      Manufacturing, p-oducing, promoting, formulating, creating, developing,

       designing, selling, and/or distributing RoundupO while negligently and/or intentionally

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      concealing and failing to disclose the results of trials, tests, and studies of exposure to

      glyphosate, and, consequently, the risk of serious harm associated with human use of and

      exposure to Roundup(M;

      c)      Failing to undertake sufficient studies and conduct necessary tests to determine

      whether or not Roundup® products and glyphosate-containing products were safe foi- their

      intended use in agriculture and horticulture;

      d)      Failing to use reasonable and prudent care in the design, research, manufacture, and

      development of Roundup® products so as to avoid the risk of serious hai-rn associated with

      the prevalent use of RoundupO/glyphosate as an herbicide;

      e)      Failing to design and manufacture Roundup(1z products so as to ensure they

      were at least as safe and effective as other herbicides on the market;

      f)      Failing to provide adequate instructions, guidelines, and safety precautiolis to those

      persons who Monsanto could reasonably foresee would use and be exposed to its

      Roundup(12 products;

      g)      Failing to disclose to Plaintiff, users/consuiners, and the general public that use of

      and exposure to Roundup 1z presented severe risks of cancer and othei- grave

      illnesses;

      h)      Failing to warn Plaintiff, consumers, and the general public that the

      pi-oduct's risk of harm was unreasonable and that there were safei- and effective altei-native

      herbicides available to Plaintiff and othei- consumers;

      i)      Systematically suppressing or downplaying conti-ai-y evidence about the

      risks, incidence, and prevalence of the side effects of Roundup o and glyphosate-containing

      products;

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        j)      Representing that its Roundup® pi-oducts were safe foi- their intended use when, in

        fact, Monsanto knew or should have known that the products were not safe for tlleir

        intended purpose;

        k)      Declining to make or propose any changes to RoundupO products' labeling or other

        promotional materials that would alert the consumers and the general public of the risks of

        Roundup(l and glyphosate;

       1)       Advertising, marketing, and recommending the use of the Roundup0 products,

        while concealing and failing to disclose or warn of the dangers known by Monsanto to be

        associated with or caused by the use of or exposui-e to Roundup g and glyphosate;

        m)      Continuing to disseminate infornnation to its consumers, which indicate or imply

        that Monsanto's RoundupO products ai-e not unsafe for use in the agricultural and

       horticultural industries; and

       n)      Continuing the manufacture and sale of its products with the knowledge that the

       products were unreasonably unsafe and dangerous.

       128.    Monsanto knew and/or should have known that it was foreseeable that consumers

such as Plaintiff would suffer injuries as a result of Monsanto's failure to exercise ordinary care in

the manufacturing, marketing, proinotion, labeling, distribution, and sale of Roundup lz .

       129.    Plaintiff did not know the nature and extent of the injuries that could result frorn

the intended use of and/or exposure to Roundup® or its active ingredient glyphosate.

       130.    Defendants' negligence was the proximate cause of the injuries, harm, and

economic losses that Plaintiff suffered, as described herein.

       131.    Monsanto's conduct, as described above, was reckless. Monsanto regularly rislced

the lives of consumers and users of its products, including Plaintiff, with full knowledge of the

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dangei-s of these products. Monsanto has made conscious decisions not to redesign, re-label, warn,

or inform the unsuspecting public, including Plaintiff.

        132.      As a pi-oximate result of Monsanto's wi-ongfiil acts and omissions in placing

defective Roundup M products into the stream of commerce without adeduate warnings of the

hazardous and carcinogenic nature of glyphosate, Plaintiff has suffered severe and pernnanent

physical and emotional injuries. Plaintiff has endured pain and suffering and liave suffered

economic losses (including significant expenses for medical care and treatment) in an amount to

be deterinined.

   COUNT IV: BREACH OF EXPRESS WARRANTIES - AS TO ALL DEFENDANTS

        133.      Plaintiffs incorporates by reference each and every other paragraph of this

Petition as if each were set forth fully and completely herein.

        134.      At all relevant times, Defendants engaged in the business of testing, developing,

designing, fot-mulating, manufacturing, marketing, selling, distributing and promoting its

Roundup® products, which are defective and unreasonably dangerous to users, consumers, and

those in proximity to users, including Plaintiff, thereby placing Roundup® products into the

stream of commerce. These actions were under the ultimate control and supervision of

Defendants.

        135.      Before the tiine that Plaintiff was exposed to the use of the aforementioned

Rouiidup° products, Defendants expressly warranted to its consumers and users—including

Plaintiff that its Roundup~' products were of inerchantable quality and safe and fit for the use foi-

which they were intended; specifically, as horticultural herbicides.

       136.       Defendants, however, failed to disclose that Roundup't had dangerous

propensities when used as intended and that the use of and/or exposure to roundup and

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glyphosate-containing products carries an increased risk of developing severe injuries, including

Plaintiff's injuries.

        137.    The representations, as set forth above, contained or constituted affirmations of

fact oi• promises made by the seller to the buyer which related to the goods and became part of

the basis of the bargain creating an express warranty that the goods shal] conform to the

affii-mations of fact or promises.

        138.    Roundup° did not conform to the representations made by Monsanto as

Roundup° was not safe for use by individuals such as Plaintif£

        139.    At all times relevant to this litigation, Plaintiff used aiid/or was exposed to the use

of Defendant's Roundup products in their intended or reasonably foreseeable mamier without

knowledge of their dangerous cliaracteristics.

        140.    Neither Plaintiff nor Plaintiff's employers could have reasonably discovered or

kiiown of the risks of serious injury associated with Roundup or glyphosate.

        141.    Defendants' breaches constitute violations of state common laws, including, but

not limited to, the following statutory provisions as applicable:

            ❑ Co. Rev. St. § 4-2-316 (2017);

        142. The breach of the warranty was a substantial factor in bringing about Plaintiff s

injuries. As a direct and proximate result of Defendants' placing its defective Roundup°

products into the stream of commerce and failing to warn Plaintiff of the inci•eased risk of NHL

associated with the use of and/or exposure to Roundup° pi•oducts as desci-ibed hei•ein, Plaintiff

has developed NHL and has been injured catastrophically and has been caused severe and

permanent pain, suffering, disability, impairment, loss of enjoyment of life, loss of care and

comfort, and economic damages, including for medical care and treatment.

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        143.    The harm caused by Defendant's Roundup° products far outweigh theii- benefit,

rendering the products more dangerous than an oi-dinary consunier or user would expect and

more dangerous than alternative products.

        144.    As a direct and proximate result of Defendants' wrongful acts and omissions

Plaintiff has suffered severe and pei-manent pliysical and emotional injuries. Plaintiff has

endured pain and suffering, have suffered economic loss, including significant expenses for

inedical care and treatment, and will continue to inctu- these expenses in the future.

    COUNT V: BREACH OF IMPLIED WARRANTIES- AS TO ALL DEFENDANTS

        145.    Plaintiff incorporates by reference each and every other paragraph of this Petition

as if each were set forth fully and completely lierein.

        146.    At all times relevant, Defendants engaged in the business of testing, developing,

designing, formulating, manufacturing, selling, distributing, and prolnoting Roundup® products,

which are defective and unreasonably dangerous to users, consumers, and those in proximity to

users, including Plaintiff, thereby placing Roundup° products into the streain of commerce.

These actions were under the ultimate control and supei-vision of Defendants.

        147.    Before the time Plaintiff was exposed to the use of the aforementioned Roundup®

products, Defendants impliedly warranted to its consumers and users—including Plaintiff and

Plaintiff's employers—that its Roundup° pi-oducts were of inerchantable quality and safe and fit

for the use for wliich they were intended; specifically, as hoi-ticultural herbicides.

        148.    Defendants, liowever, failed to disclose that Roundup° has dangerous propensities

when used as intended and that the use of and/o- exposui-e to Roundup© and

glyphosatecontaining products carries an increased risk of developing sevei-e injuries, including

Plaintiff's injuries.

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        149.    Upon infoi-mation and belief, Plaintiff reasonably relied upon the skill, superior

knowledge and judgment of Defendants and upon its implied warranties that the Roundup°

products wei-e of inerchantable quality and fit for their intended purpose or use.

        150.   The Roundup° products were expected to reach and did in fact reach consumers,

users, and those in proximity to users, including Plaintiff, without substantial change in the

condition in which they were manufactured and sold by Defendants.

        151.   At all i-elevant times, Defendants were aware that consumers, users, and those in

proximity of users of its products, including Plaintiff, would use Roundup® products as marketed

by Defendants, wlhich is to say that Plaintiff was a foreseeable user of Roundup°

       152.    Defendants intended that the Roundup° products be used in the manner in which

Plaintiff in fact used or was exposed to them and Defendants impliedly warranted each product

to be of inerchantable cluality, safe and fit for this use, despite the fact that Roundup° was not

adequately tested or researched.

       153.    In reliance upon Defendants' implied warranty, Plaintiff used or was in proximity

to the use of Roundup~' as instructed and labeled and in the foreseeable manner intended,

recommended, promoted and mai-keted by Defendants.

       154.    Neithei- Plaintiff nor Plaintiff's employers could have reasonably discovered or

known of the risks of serious injury associated with Roundup° products or glyphosate.

       155.    Defendants breached their implied warranty to Plaintiff in that the Roundup°

products were not of inerehantable quality, safe, or fit for their intended use, or adeduately tested.

Roundup° has dangerous pi-opensities wlien used as intended and can cause serious injw-ies,

including those injuries complained of herein.



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       156.    The harm caused by Defendants' Roundup° products far outweighed their benefit,

rendering the products more dangerous than an ordinary consumer or user would expect and

moi-e dangerous than alternative products.

       157.    As a direct and proximate result of Defendants' wrongful acts and omissions

Plaintiff has suffered severe and permanent physical and emotional injuries. Plaintiff has

endured pain and suffering, has suffered economic loss, including significant expenses for

medical care and treatment, and will continue to incur these expenses in the future.

                     PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES

 WHEREFORE, Plaintiff has suffered non-economic damages, including, but not limited to,
physical and mental pain and suffering, emotional stress, impaired quality of life, and economic
damages, including, but not limited to, medical expenses and loss of incorne as a direct result of
the Defendants' negligent acts.

NOW THEN, Plaintiff prays for an Order of Judgment in favor of the Plaintiff and against the
Defendants as follows:

               a.)    For judgment in favor of Plaintiff and against Defendants in an amount to
                      be determined at trial for actual and conseduential damages, including
                      noneconomic, economic, and ph_ysical impairment;

               b.)    For pre judgment interest, which has accrued since the date of the tort
                      pursuant to C.R.S. §13-21-101;

               c.)    For complete and total compensation for all of Plaintiff's niedical bills;

               d.)    For all costs in the prosecution of this matter; and

               e.)    For any and all further relief as the Court may deem proper and just.

       Respectfully submitted this 24th day of January, 2020.




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                                                                    TERRY ROGERS, ATTORNEY AT LAW

                                                                     Original Signatan•e on File at the Office
                                                                     Of Terty Rogers. Attorne), at Laiv


                                                                       /s/ TeYl;y Rogers
                                                                     Teii-y Rogers, Atty. Reg. 18636
                                                                     A TTORNEY FOR I'LAINTIFF

Plaintiff's Address:
14759 East Navarro Place
Aurora, Colorado 80014

 T17is pleading was filed tvith the Cour! lhrorigh !he ICCES Electronic Filing Procederres, under C.R.C.P. 121, 5S 1-26. As required by those rzdes,
                                 Ihe original signed copy of (his pleaclii7g is on, frle milh Te-ry Rogers, Atlonaey at Lmn.




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 DISTRICT COURT, CITY AND COUNTY OF
 LARIMER, STATE OF COLORADO

 Court Address: Larimer County District Court
               201 La Porte Avenue
               Fort Collins, CO 80521

  Plaintiff: JAMES HARMON

                                                                   ❑ Court Use Only ❑
 V.


 Defendant: MONSANTO CO. and POUDRE
 VALLEY CO-OPERATIVE ASSOCIATION,
 INC.
                                                          Case Number: 2020CV030073

 Attorney for Plaintiff
 Ten•y Rogers, Atty. Reg. No. 18636                       Division: 3B
 4450 Arapahoe Ave., Suite 100
 Boulder, Colorado 80303
 Email: tr@rogerslaw.com
 Telephone: (303)444-5300
 Facsimile: (303)444-5311



                                           SUMMONS



THE PEOPLE OF THE STATE OF COLORADO TO THE ASOVE-NAMED CO-
DEFENDANT MONSANTO, CO.:

        You are hereby summoned and required to file with the clerk of this court an answer or
other response to the attached complaint. lf service of the summons and complaint was made upon
you within the State of Colorado, you are required to file your answer or other response within 21
days after such service upon you. If service of the suinmons and complaint was made upon you
outside of the state of Colorado, you are reduired to file your answer or other response within 35
days after such service upon you.

       If you fail to file your answer or otlier i-esponse to the complaint in writing within the
applicable time period, judgment by default may be entered against you by the court for the relief
demanded in the complaint without fiu-thei- notice.

              DATED this 12th day of May, 2020.
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                                                         Respectfully submitted,

                                                        TERRY ROGERS, ATTORNEY AT LAW

                                                         *S/ Tertw Rogers
                                                         Terry Rogers, Atty. Reg. No. 18636


This summons is issued pursuant to Rule 4, C.R.C.P., as amended. A copy of the complaint must
be se►•ved with this summons. This form should not be used where service by publication is
desired.

WARNING: A VALID SUMMONS MAY BE ISSUED BY A LAWYER AND IT NEED NOT
CONTAIN A COURT CASE NUMBER, THE SIGNATURE OF A COURT OFFICER, OR A
COURT SEAL. THE PLAINTIFF HAS 14 DAYS FROM THE DATE THIS SUMMONS WAS
SERVED ON YOU TO FILE THE CASE WITH THE COURT. YOU ARE RESPONSIBLE FOR
CONTACTING THE COURT TO F1ND OUT WHETHER THE CASE HAS BEEN FILED AND
OBTAIN THE CASE NUMBER. IF THE PLAINTIFF FILES THE CASE WITHIN THIS TIME,
THEN YOU MUST RESPOND AS EXPLAINED IN THIS SUMMONS. IF THE PLAINTIFF
FILES MORE THAN 14 DAYS AFTER THE DATE THE SUMMONS WAS SERVED ON
YOU, THE CASE MAY BE DISMISSED UPON MOTION AND YOU MAY BE ENTITLED
TO SEEK ATTORNEY'S FEES FROM THE PLAINTIFF.

TO THE CLERK: If the summons is issued by the clerk of the court, the signature block for the clerk
or deputy should be provided by stamp, or typewriter, in the space to the left of the attorney's name.




` The "S/" is a symbol representing the signature of Ihe person whose naine follows the "S/" on the electronically or
otherivise signed fonn of the E-Filed or E-Served docan77ent pztrszrant to C.R.C.P. 121 Ir 1-26(1)69. A p-inled or
printable copy of an E-Filed or E-Served docznnent ivith original or scanned signatzn-es is maintained by lhe filing
party and is available for inspection by other parties oi- the cozirt zrpon reqitest pin-suanl to C.R.C.P. 121 lr 1-26(7).
